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 1                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS
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 4     UNITED STATES OF AMERICA,

 5                            Plaintiff,           Criminal Action
                                                   No. 99-10371-DJC
 6     V.
                                                   June 12, 2013
 7     JAMES J. BULGER,

 8                         Defendant.
       ___________________________
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11                      TRANSCRIPT OF OPENING STATEMENTS

12                                JURY TRIAL DAY 1

13                    BEFORE THE HONORABLE DENISE J. CASPER

14                          UNITED STATES DISTRICT COURT

15                        JOHN J. MOAKLEY U.S. COURTHOUSE

16                                 1 COURTHOUSE WAY

17                                BOSTON, MA    02210

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21
                              DEBRA M. JOYCE, RMR, CRR
22                             Official Court Reporter
                          John J. Moakley U.S. Courthouse
23                          1 Courthouse Way, Room 5204
                                  Boston, MA 02210
24                                   617-737-4410

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 1     APPEARANCES:

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         1                              P R O C E E D I N G S

         2                      (The following proceedings were held in open

         3     court before the Honorable Denise J. Casper, United States

         4     District Judge, United States District Court, District of

         5     Massachusetts, at the John J. Moakley United States Courthouse,

         6     1 Courthouse Way, Boston, Massachusetts, on June 12, 2013.)

         7                          *   *   *   *   *   *   *   *   *

         8                 MR. KELLY:   Yes, thank you, your Honor.

         9                 Good morning.

09:33   10                 This is my chance to give you an overview of the case.

        11     It's a case about organized crime, public corruption, and all

        12     sorts of illegal activities ranging from extortion to drug

        13     dealing to money laundering to possession of machine guns to

        14     murder, 19 murders.

        15                 It's about a criminal enterprise, which is a group of

        16     criminals, who ran amok in the City of Boston for almost 30

        17     years.    So you'll hear about crimes in the '70s, the '80s, and

        18     the '90s.    And at the center of all this murder and mayhem is

        19     one man, the defendant in this case, James Bulger.

09:34   20                 You will hear that eventually, while he started out as

        21     just one of many members of this enterprise, eventually he took

        22     control.    He became the leader.        And he was no ordinary leader.

        23     He did the dirty work himself, because he was a hands-on

        24     killer.

        25                 Let's go back to the summer of 1983.         There was a man
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         1     named Arthur Barrett, everyone called him "Bucky," "Bucky"

         2     Barrett.   By all accounts, a likable guy, wife, two little

         3     kids, owned a restaurant, and he had a fondness for stolen

         4     jewelry that he could resell for a profit.         And it's this

         5     fondness for jewelry that proved to be his undoing.          Because in

         6     the summer of '83, he was tricked into going to a small home in

         7     South Boston at 799 East Third Street.        He was tricked with the

         8     false promise that there would be stolen jewelry there that he

         9     could assess and then resell for a profit.         But, instead, when

09:35   10     he got to that small home, he didn't see any stolen jewelry.

        11     What he saw was this man over here, James Bulger, sticking a

        12     gun at him, yelling at him to freeze, and "Bucky" Barrett

        13     froze.

        14                And then "Bucky" Barrett was taken to a chair,

        15     handcuffed, and chained to that chair.        And then for several

        16     hours he was questioned, questioned by this man over here,

        17     James Bulger, and his criminal sidekick, Stephen Flemmi.           And

        18     they questioned him about other criminals in the area, pumped

        19     him for information about their criminal competitors.

09:36   20                One of the guys they asked him about was a big dope

        21     dealer over in Charlestown, Joe Murray.        But they asked him a

        22     lot of questions.     They wanted information that they could use

        23     later on to their own benefit.       But eventually they got around

        24     to asking him where he kept his money.        He admitted that he had

        25     cash in his house.     So they made him call his wife several
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         1     times and try to get her to leave the house with the young kids

         2     so they could go over and take the money.

         3               Finally, she was able do that.       She didn't know why

         4     she had to leave the house, she just kept getting calls from

         5     her husband, "Bucky."     When she left the house, Bulger and

         6     Flemmi went to the house and helped themselves to over $40,000.

         7               Now, as you will hear from Elaine Barrett herself,

         8     she's a witness in this case, she will tell you that that was

         9     the last time she heard from "Bucky" Barrett.         Because "Bucky"

09:37   10     Barrett, while Bulger and Flemmi were at his house stealing

        11     money, was back at the small house in South Boston, still

        12     chained to the chair, being watched by two other members of his

        13     criminal enterprise, one of whom was a guy named Kevin Weeks.

        14     Kevin Weeks watched him as he said his prayers.

        15               Bulger and Flemmi got back to the house, and they

        16     continued to question him.      They also sent Weeks to his

        17     restaurant to pick up another $10,000 that was owed to him.

        18     Weeks went and got the $10,000, brought it back to the house,

        19     where Barrett was still chained to the chair.         So, all told,

09:38   20     they had over $50,000, and this was money that was never going

        21     back to Barrett.

        22               Eventually, Bulger led Barrett to the top of the

        23     cellar stairs, and they made a little joke to Kevin Weeks.

        24     They said, Barrett's going downstairs to lie down for a while.

        25     As Barrett walked down the stairs, this man over here, James
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         1     Bulger, shot him in the back of the head, killing him.

         2               This little house at 799 East Third Street didn't have

         3     a regular cement cellar, it was dirt.        It was that dirt cellar

         4     where "Bucky" Barrett was buried.

         5               Bulger didn't get involved in the burial process, he

         6     let his other gang members do that.        He stayed upstairs and

         7     rested on the couch.

         8               Now, that's not the last murder that Bulger himself

         9     committed at that home in South Boston.        But it's crimes like

09:39   10     these, vicious crimes, that made Bulger and his gang widely

        11     feared.   And that's how they made a lot of money, because this

        12     enterprise, whether it's legal or illegal enterprises, always

        13     want to make money, and that's what this illegal enterprise was

        14     in the business of doing.      And they made millions of dollars

        15     extorting people.

        16               And part of their success was due to their fearsome

        17     reputation; that is, other criminals were afraid of them, other

        18     criminals would rather pay them off than argue with them or

        19     fight with them.     And that's what's known as extortion, when

09:40   20     people are forced to pay money because of threats or fear of

        21     harm.

        22               And this defendant, Mr. Bulger, extorted all sorts of

        23     people.   He extorted bookmakers.      In fact, one of the first

        24     witnesses you will hear from in this trial was a bookmaker

        25     named Dick O'Brien.     He was a bookmaker who was forced to make
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         1     extortion payments, or rent, as all the bookies called it, to

         2     Bulger and his gang.     And why?    Because bookmakers are guys who

         3     make a living taking sports bets for people.         So if you want to

         4     bet on the Patriots or the Bruins, whatever, you call a bookie

         5     or a bookmaker.    And it's a crime, obviously not the most

         6     serious crime, but a crime nonetheless.        And it's actually very

         7     profitable.    But the bookies who do it are easy prey to the

         8     more violent criminals in the community, because the bookies

         9     who do it, if they're approached and told they have to pay

09:41   10     rent, don't want to run to the police because then they have to

        11     admit in their own wrongdoing, engaged in gambling, but also,

        12     they don't want to run to the police because they're afraid of

        13     Bulger and his gang.     So they all paid rent or tribute or

        14     extortion, because they really had no other choice.          They

        15     couldn't refuse to pay and stay in business.         If they refused

        16     to pay, they had to get out of business.         Because if they

        17     refused to pay and still stayed in business, they got hurt.

        18     And that's what they had to pay for permission to operate.

        19               You'll hear it wasn't just the bookies, it was also

09:41   20     drug dealers in the area.      They, too, were afraid of Bulger and

        21     his gang, so they, too, had to pay.        Sometimes they paid on a

        22     frequent basis, so-called rent; sometimes they were fined and

        23     had to pay a lump sum.

        24               Now, you will hear from several drug dealers who dealt

        25     directly with Bulger.     You will hear that Bulger liked to
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         1     promote the myth that he had nothing to do with drugs.           But you

         2     will hear from these drug dealers that in the 1980s Bulger was

         3     deeply involved in the distribution of drugs in the South

         4     Boston area, especially cocaine.       And he and his gang made

         5     millions at it.

         6               Now, before I go too far with all the facts in this

         7     case, let me give you a brief idea of the charges, because

         8     there's going to be a lot of names and places mentioned in this

         9     trial, and we will try to be respectful of your time, we'll try

09:42   10     to be efficient, and we'll try to present this case in a

        11     chronological fashion.      It's like putting a puzzle together

        12     piece by piece, but sometimes things have to be taken out of

        13     order.

        14               So let me give you an idea of the charges in the case.

        15     I've got a little chart, not too fancy, really, but it helps

        16     give an overview of what we're looking at.

        17               Is the chart up?

        18               THE COURT:    Let me just advise.

        19               The jurors in the back row, you each have screens,

09:43   20     every other chair there's something to your right.          If you open

        21     it up, there's screens you can pull out.

        22               (Pause.)

        23               THE COURT:    Can everyone see now?

        24               Thank you.

        25               Mr. Kelly.
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         1               MR. KELLY:    Sure.

         2               As indicated at the beginning by the Court, there are

         3     32 counts or charges in this indictment.         It sounds

         4     complicated, but in many ways, it's fairly simple.

         5               First, there are 23 money laundering charges.          That's

         6     mostly about real estate transactions that resulted in checks

         7     being made out to James Bulger.

         8               As you will hear, when people conduct financial

         9     transactions, like checks, with dirty money, that is, money

09:44   10     they made through crime, that's money laundering.

        11               And there are also two racketeering charges, which are

        12     basically about Bulger's criminal gang and all the crimes they

        13     committed.    Racketeering charges include what's known as

        14     predicate acts or underlying crimes like drug dealing,

        15     extortion, murder.     And to be considered part of a racketeering

        16     enterprise, you have to commit or agree to commit at least two

        17     racketeering acts.     And in this case, Bulger's charged with 33.

        18               Now, there are also, as you see, five different

        19     gun-related charges about revolvers, pistols, and machine guns;

09:45   20     and there are also two extortion charges, one is a conspiracy.

        21     In fact, several of these 32 counts, three of them, are charged

        22     as conspiracies.     And a conspiracy is basically just an

        23     agreement between two or more people to do something illegal,

        24     whether it's a money laundering conspiracy or extortion

        25     conspiracy or racketeering conspiracy.
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         1                Now, I said moments ago, that part of the success of

         2     Bulger's criminal enterprise was due to its fearsome

         3     reputation.    Other criminals were afraid of him, made the

         4     extortion payments.      And that's true.     But there was another

         5     part to their success, and the other part to their success was

         6     public corruption.     Because you will hear that Bulger and his

         7     friends made a point of paying off members of law enforcement.

         8     They did that so they could get tipped off to investigations

         9     and stay one step ahead of the honest cops who were actually

09:46   10     trying to make a case against them.        So it was part of a

        11     strategy they had, and it worked.

        12                You will hear about a state trooper named Dick

        13     Schneiderhan who took money and gave information to Bulger's

        14     group.   You will also hear about FBI agents taking money and

        15     compromising investigations on behalf of Bulger, tipping him

        16     off to investigations that legitimate, honest cops were trying

        17     to make against him and his colleagues.

        18                And two of the corrupt FBI agents you'll hear the most

        19     about are guys named John Morris and John Connolly.           And John

09:47   20     Morris, he will appear before you at this trial, and he will

        21     admit what he did, and he will testify.

        22                Now, who was FBI agent John Connolly?        Well, even

        23     though, as you will hear, Bulger liked to tell people he didn't

        24     like informants, or rats as he used to call them, the evidence

        25     in this case will be that Bulger was one of the biggest
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         1     informants in Boston.      Bulger routinely met with FBI agent John

         2     Connolly and gave him information, some true, some false, but

         3     all designed to protect himself, mislead other investigators,

         4     or get the competitive edge that he wanted.

         5                Now, this, in turn, leads us to one of the grotesque

         6     ironies of this case, because you will hear about one

         7     informant, Bulger, killing other people because those other

         8     people were suspected of being informants.

         9                Let me give you an example.      May of 1982, there's a

09:48   10     man named Brian Halloran.       He was shot dead about a half mile

        11     from here on the South Boston waterfront.         Shot dead by James

        12     Bulger over there.     And with him at the time was another man

        13     who died in the hail of bullets that Bulger unleashed, a guy

        14     named Michael Donahue, who had the misfortune to just be giving

        15     his friend, Brian Halloran, a ride home.

        16                So why did Bulger kill these two men?        Bulger had

        17     learned from his own corrupt FBI connections that Halloran was

        18     trying to give information to law enforcement, just like Bulger

        19     was doing, only to Bulger, this offended him because Halloran

09:49   20     was trying to give information about Bulger's co-conspirators

        21     and colleagues in crime.

        22                Halloran was trying to tell the FBI about a murder

        23     that had occurred in Oklahoma.       The Oklahoma victim was a

        24     businessman named Roger Wheeler.        Roger Wheeler had refused to

        25     sell a Florida business he owned to some Bulger-related
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         1     co-conspirators, and now Halloran was talking about it.           And

         2     Bulger didn't like that.      In fact, Bulger took action, because

         3     he did not want the FBI to learn the truth about Roger Wheeler,

         4     because Roger Wheeler was, in fact, shot between the eyes after

         5     a round of golf in Oklahoma, sitting in his car, shot by one of

         6     his colleagues, John Martorano.

         7                So Halloran and his friend Donahue were gunned down in

         8     broad daylight in May of '82.       And by the time this 1982 murder

         9     of Halloran and Donahue had occurred, Bulger and his

09:50   10     co-conspirators had already killed 13 other people, because

        11     this little murder spree had been going on since the early

        12     '70s.

        13                All of these murders were committed to promote or

        14     protect Bulger's criminal enterprise or criminal gang, but,

        15     like Michael Donahue, some of the murder victims were just in

        16     the wrong place at the wrong time.

        17                One of the first murders you'll hear about in this

        18     case that was part of the racketeering activities was of a guy

        19     named Michael Milano.      Now, Milano, he had nothing to do with

09:51   20     Bulger, but Milano was in the wrong place at the wrong time.

        21     Because in the early '70s, Bulger's gang was feuding with

        22     another criminal group headed by a guy named Al Notorangeli,

        23     and by the time this feud was over, six people were dead,

        24     including Al Notorangeli and his brother Joe.          And Bulger's

        25     role in several of these Notorangeli-related murders was to
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         1     drive a second car behind the car that was doing the shooting.

         2     Bulger was the crash car, designed to cause an accident to

         3     distract the police if they came to the scene and try to get

         4     the shooters.

         5                Now, Milano -- that's when he did the Milano murder,

         6     he was driving the crash car, because his friend, John

         7     Martorano, was in the first car doing the shooting.           But

         8     Bulger's crew basically killed the wrong guy.          They shot

         9     Milano, but they thought he was Notorangeli.          He looked like

09:52   10     him, he drove a Mercedes like him; but it wasn't Notorangeli,

        11     it was Milano.     And when they were done riddling his car with

        12     bullets, Notorangeli wasn't dead, poor Michael Milano was dead.

        13     And inside the car with Milano was a friend and the friend's

        14     girlfriend.     Milano was killed, the friend was paralyzed, and

        15     the girlfriend was wounded with a bullet.         Her name was Dianne

        16     Sussman, and she's going to come before you and testify and

        17     tell you about that terrifying day she experienced so many

        18     years ago.

        19                Now, most of the time Bulger and his gang killed the

09:53   20     person they set out to kill.       You'll hear about victims like

        21     Eddie Connors.     Eddie Connors was bragging too loudly and too

        22     much about helping Bulger's gang, and this made him a

        23     liability.    So -- because in the criminal world, it's important

        24     to keep your mouth shut, and he wasn't keeping his mouth shut,

        25     he was talking.
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         1                So, what happened to Eddie Connors?        He was told by

         2     one of the gang members to go to a phone booth in Dorchester

         3     for an important phone call, but when he got there, there was

         4     no phone call.     Instead, death came calling.       Death came

         5     calling in the form of this man over here, James Bulger, who

         6     riddled that phone booth with bullets.         Bulger and his

         7     sidekick, Stephen Flemmi, ran towards the phone booth and shot

         8     it up, killing Eddie Connors.

         9                And I've mentioned now two of Bulger's closest

09:54   10     co-conspirators, John Martorano and Stephen Flemmi.           Like the

        11     defendant, Bulger, they are killers.        And they were part of

        12     Bulger's criminal enterprise for many, many years, and both

        13     have been charged, both have pled guilty to that.           They were

        14     prosecuted and pled guilty, and eventually both agreed to

        15     cooperate.    They pled guilty to participating in murders,

        16     extortion, money laundering, racketeering.         They will both

        17     testify in this case.      They will admit to you their crimes, and

        18     they will explain to you their friend Bulger's role in those

        19     crimes.

09:55   20                Now, you'll hear that Martorano ultimately got a

        21     sentence of 14 years, not enough, but you will hear from him,

        22     and put this in perspective when you analyze his testimony,

        23     that originally he wasn't facing any murder charges.

        24     Originally he was facing gambling and money laundering charges,

        25     and by pleading guilty and confessing to murder, he basically
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         1     doubled his punishment.      Still not enough.     But bear in mind

         2     when you listen to him, without his confession, there was never

         3     any murder charges against him.        But he did confess, and he did

         4     cooperate, and he did help solve crimes that had been unsolved

         5     for three decades.

         6                Now, you will also hear from Stephen Flemmi.           He, too,

         7     has admitted his role in many murders, and he will tell you

         8     about his relationship with James Bulger.         Flemmi is serving a

         9     life sentence.

09:56   10                And basically Flemmi and Bulger were partners in crime

        11     for many, many years.      They extorted people, they killed people

        12     together, they killed a lot of people together.          But, in

        13     fact -- in fact, after several, after several of the murders

        14     that Bulger and Flemmi committed together, Flemmi pulled the

        15     teeth out of the victims in the mistaken belief that that would

        16     somehow prevent the bodies from being identified, not

        17     anticipating DNA testing years later.

        18                So, clearly, Flemmi is a vicious killer, but just as

        19     clearly, the evidence in this case will show that he was James

09:57   20     Bulger's partner, partner for many years.

        21                Now, Flemmi and Bulger weren't just partners in crime,

        22     they were also partners in the informant business.           Because,

        23     like Bulger, Flemmi also met with FBI agent John Connolly on

        24     dozens of occasions and fed him information about criminal

        25     rivals.    And like Bulger, Stephen Flemmi paid thousands of
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         1     dollars to corrupt FBI agents.       And like Bulger, Flemmi was

         2     paying off cops in order to get inside information that would

         3     help him and his colleagues escape prosecution from legitimate

         4     cops, who were, in fact, investigating them.

         5                Now, Flemmi and Bulger were so close that Flemmi

         6     bought a house, a house in South Boston right across from

         7     Bulger's brother's house.       The houses literally face each

         8     other.   Let me show you a picture of that.

         9                On the right, if you're looking at the screen, is the

09:58   10     Flemmi house, Flemmi's mother's house, and on the left is

        11     Bulger's brother's house.       In the back -- this isn't the best

        12     picture, I'll show you another one in a second -- the very back

        13     you can see the beginning of a screen house, a cabana, whatever

        14     you want to call it, I'm going to call it a screen house.          You

        15     can actually see it much better from an aerial view.

        16                In the top right-hand corner is the screen house.

        17     It's a pretty large structure.       And that screen house, it's

        18     important for a couple of reasons.        First of all, it's one of

        19     the places that the Bulger gang kept its guns and ammunition,

09:59   20     because Bulger's criminal organization maintained a veritable

        21     arsenal of weapons, and that's where they kept a lot of it, so

        22     the weapons would be available whenever they needed it.

        23                You will hear that a lot of weapons were originally

        24     stored in Brookline at another co-conspirator's house, a guy

        25     named George Kaufman.      And in the late 1980s, Kevin Weeks, the
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         1     man I mentioned earlier, he brought the guns from Brookline

         2     over to that screen house, at Bulger's direction.

         3                Now, you will hear from Kevin Weeks himself as well,

         4     because he, too, was prosecuted and pled guilty.          He, too,

         5     ultimately agreed to cooperate, and he will tell you about

         6     these guns in the screen house.

         7                And at one point, shortly after bringing the guns to

         8     the screen house, Bulger wanted his own little stash, his own

         9     little set, in case Flemmi wasn't around and Bulger needed guns

10:00   10     quickly.    So you'll hear how Flemmi bagged them up and Weeks

        11     took them from Flemmi and hid them for Bulger for many years.

        12     And those are the 14 guns at issue in this case.          They include

        13     several revolvers and pistols, but six machine guns.

        14                And let me show you a picture, if I could, of some of

        15     those.   On the right-hand side and in the middle are the

        16     machine guns I just mentioned.

        17                Now, these are machine guns and pistols and revolvers

        18     there.   These aren't the only guns that you're going to hear

        19     about in this case.      Because you'll hear how the State Police

10:00   20     and the DEA in January of 2000 searched the screen house I just

        21     showed you.    They got a search warrant, went to the screen

        22     house in South Boston, and looked for what they hoped would be

        23     a stash of weapons.

        24                Unfortunately, when they got there, they only found

        25     one handgun and some ammunition, some miscellaneous items,
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         1     because the guns that had been stashed there had been moved,

         2     moved by Flemmi's son.      Because Flemmi had found out -- Flemmi

         3     was still in prison, Flemmi had found out that Kevin Weeks was

         4     cooperating.    So he sent his son to get the guns out of there.

         5     So his son bagged up the guns and got them out of there.

         6                His son was a man named William St. Croix, different

         7     last name, but he was, in fact, the son of Stephen Flemmi.         And

         8     you will hear from him in this trial as well.          He, too, will

         9     testify.    And he'll tell you how his dad, Stephen Flemmi, told

10:01   10     him to get over there, get rid of those guns, because Weeks has

        11     turned, Weeks is cooperating.

        12                So St. Croix did what his dad asked him to do, and he

        13     lugged some of the guns, the better ones, down to Florida where

        14     he was living, and he buried a bunch of them in Somerville in a

        15     piece of property he had access to.        But because St. Croix also

        16     eventually cooperated with the police, the police were able to

        17     find this part of the Bulger arsenal.

        18                Now, I said that the screen house was important for

        19     two reasons, and it is.      Because the second reason is that that

10:02   20     screen house was the scene of a vicious extortion that you'll

        21     hear about.    Because -- and they extorted a businessman named

        22     Richard Buccheri, general contractor, at that screen house.

        23     Because Bulger and his crew didn't just demand rent and levy

        24     fines on drug dealers and bookies, sometimes they extorted

        25     businessmen who had the misfortune of crossing their paths.
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         1     And that's what happened to Richard Buccheri.

         2                Mr. Buccheri is also somebody who will come into this

         3     courtroom and testify before you.

         4                Mr. Buccheri found himself in a jam because he gave an

         5     opinion about a fence that was involved in a property dispute

         6     in Quincy.    Now, unbeknownst to him, this fence and this

         7     property dispute affected Kevin Weeks.         And because it affected

         8     Kevin Weeks, Bulger's younger sidekick, Buccheri was in

         9     trouble.    And Buccheri, who knew Flemmi, was summoned to the

10:03   10     screen house.     In fact, Buccheri had built the screen house

        11     years earlier.

        12                But when he got there this time to the screen house

        13     that he had built, it wasn't for a building project.              Because

        14     when he got there this time, who does he encounter?           He

        15     encounters an angry James Bulger, sticking a gun in his mouth,

        16     yelling at him, berating him.       Some nerve giving your opinion

        17     about a property matter that affects his friend.

        18                Buccheri, of course, didn't want to argue.         He quickly

        19     agreed to the fine that Bulger imposed; that is, an extortion.

10:04   20     He quickly agreed to pay $200,000 so he could get himself the

        21     heck out of there.

        22                And so he was lucky enough to escape the screen house.

        23     And he did leave.     And you will hear how he then had to come up

        24     with $200,000.     So he had to mortgage a property, and he wrote

        25     out a check for $200,000 to Stephen Flemmi, Bulger's sidekick,
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         1     and then Flemmi cashed the check and split up the cash with

         2     Bulger, Flemmi, and Weeks.       And we have a copy of the check,

         3     it's a lousy copy, it's a copy of a copy, but a copy

         4     nonetheless.    Let me show you that.

         5                 See, that's the check from Buccheri to Flemmi for

         6     $200,000.    And that's what Mr. Buccheri used to get himself out

         7     of trouble with Bulger's gang.

         8                 Now, Kevin Weeks, as you will hear, did more than just

         9     store guns and facilitate extortions for Bulger.          He also

10:05   10     helped launder money for Bulger.        Because criminals need a way

        11     to get their money into the banking system, and they often try

        12     to make it look like they have legitimate income and assets.

        13     And as I said earlier, when people conduct financial

        14     transactions with dirty money, money they earn through crime,

        15     that's a form of money laundering.

        16                 And you'll hear about a business and a property, piece

        17     of property in this case called the South Boston Liquor Mart,

        18     originally called Stippo's after the original owner.              And

        19     you'll hear how Bulger obtained that, obtained it with dirty

10:06   20     money, and with the help of a handgun.

        21                 And you'll hear of subsequent real estate transactions

        22     that were conducted by Bulger and his gang, elaborate

        23     transactions designed to hide the people with true interest,

        24     all culminating in checks to Bulger years later, checks that

        25     are financial transactions that are a form of money laundering.
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         1                Let me show you an example, if I could, of one of

         2     those many checks that you will see during the course of this

         3     trial.   It was made out years after they acquired the property

         4     with dirty money and extortion from a thing called "Shamrock

         5     Reality Trust."     It's made payable to Bulger.       These checks are

         6     considered financial transactions and are the basis for many of

         7     the money laundering charges in this case, which is basically

         8     taking money that comes from criminal activity and doing things

         9     that make it look like legitimate activity, like real estate

10:07   10     transactions.

        11                You will hear that the delivery of cash can also be a

        12     form of money laundering, and you'll hear about that, too, how

        13     Bulger authorized the delivery of cash to John Martorano at one

        14     point.   Martorano was in jail in Plymouth, his family was in

        15     need of monies, so in order to maintain the peace in the

        16     enterprise, it was decided that he would get some money from

        17     this secret fund they called the X Fund they kept to pay off

        18     law enforcement or for emergencies.

        19                So Kevin Weeks arranged for a delivery of cash that

10:08   20     ultimately went to Martorano's family.         This is delivery of

        21     cash, which is another form of money laundering.

        22                You'll also hear in this case that Kevin Weeks helped

        23     coordinate activities with drug dealers, especially with a man

        24     named Joe Murray, the man "Bucky" Barrett had been quizzed

        25     about.   Because, ultimately, Murray became a source of cocaine
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         1     for Bulger's organization.       In fact, Murray, at one point, at

         2     Bulger's direction, provided over 50 pounds, 50 pounds of

         3     cocaine directly to Kevin Weeks, and then again at Bulger's

         4     direction Weeks parcelled some of the cocaine out to the other

         5     drug dealers that were part of Bulger's organization.

         6                Now, Weeks, who, as I said, will testify, he did even

         7     more than drug dealing.      He also helped -- he helped bury

         8     bodies for Bulger.     And while Weeks himself did not kill

         9     anyone, he was there several times when Bulger killed people.

10:09   10                For instance, Weeks was the lookout when Brian

        11     Halloran and Michael Donahue got shot down on the South Boston

        12     waterfront.    He was actually sitting there and was the lookout

        13     and was supposed to tell Bulger when Halloran came out of the

        14     restaurant.    So he'll testify about that.

        15                And Weeks was there on three, three separate occasions

        16     when Bulger killed people at 799 East Third Street.           A little

        17     house just down the Street from the Bulger/Flemmi compound that

        18     I showed you earlier.      And you'll hear about this house, it was

        19     owned by the brother of another gang member and it was

10:10   20     occasionally available for criminal use because that brother

        21     would go on trips to New Hampshire and Bulger and his gang

        22     would occasionally use it.

        23                And the first murder that occurred there was the one I

        24     already told you about, the one of "Bucky" Barrett.           But,

        25     unfortunately, that's not the last murder which Bulger himself
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         1     committed at that property.       Because the next victim was John

         2     McIntyre.    Because a year after Bulger killed Barrett, in the

         3     fall of 1984, a guy named John McIntyre was arrested for drunk

         4     driving.    And he began talking, he began cooperating with

         5     several different agencies, the DEA, the Quincy police, the

         6     FBI, and the U.S. Customs agency.        In fact, in this case,

         7     you'll hear directly from a former Customs agent, a guy named

         8     Don DeFago, who dealt directly with McIntyre.

         9                 You'll hear that McIntyre was an experienced sailor.

10:11   10     He fancied himself an IRA sympathizer.         And he helped, at one

        11     point, bring a boatload of weapons, literally, a boatload of

        12     weapons on a ship called the VALHALLA to the Irish coast.            But

        13     the weapons never made it to Ireland, because the ship itself

        14     was intercepted by the Irish authorities.         So the boat, the

        15     VALHALLA, and McIntyre came back to Boston.          In fact, you'll

        16     hear some of the guns on that boat were from Bulger's gang.

        17                 But, anyway, McIntyre gets back to Boston, goes out,

        18     gets himself drunk, starts talking to the cops.          And he was,

        19     for a while, a productive cooperating witness.          In fact, you'll

10:12   20     hear from Don DeFago that McIntyre gave some of the information

        21     that led to the seizure of 36 tons, 36 tons of marijuana on a

        22     boat called the RAMSLAND.

        23                 Now, McIntyre did not have a very long career as an

        24     informant because he soon disappeared, and he disappeared

        25     because Bulger suspected that he was, in fact, an informant.
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         1     And in order to determine whether, in fact, McIntyre was an

         2     informant, Bulger had McIntyre invited back to that house at

         3     799 East Third Street, told him it was a -- a gang member told

         4     him there was going to be a party there.

         5                So you'll hear testimony that McIntyre arrives with a

         6     case of beer, but there's no party.        What there is, is James

         7     Bulger, this man over here behind me, the defendant, once

         8     again, like with Barrett, pointing a gun at the man who comes

         9     in the door, this time, John McIntyre.

10:13   10                Now, like Barrett, McIntyre was led to a chair and

        11     chained to the chair.      And like Barrett, he was questioned

        12     repeatedly by Bulger and Flemmi.        And McIntyre soon admitted

        13     that he had been cooperating.       And that was like sealing his

        14     own death sentence, because after he admitted that, the

        15     questioning continued for a while.

        16                And then McIntyre was led downstairs to that basement

        17     at gunpoint and McIntyre was placed on a chair and then this

        18     man over here, the defendant, James Bulger, tried to choke him

        19     to death with a rope.      But the rope was too thick, couldn't

10:14   20     kill him, all it did was make him gag.         So as he was gagging,

        21     Bulger asks him, You want one in the head?         And McIntyre says,

        22     Yes, please.    And at that point Bulger shoots him in the head.

        23     And then, like Barrett, McIntyre is buried in the dirt floor.

        24                Now, several months later after this murder, this

        25     murder of McIntyre, Kevin Weeks was told by Bulger to go back
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         1     to that house.     They were going to meet Stephen Flemmi,

         2     Bulger's long-time criminal partner, partner in crime and

         3     partner in the informant business; and Weeks was told Flemmi

         4     was coming by with his stepdaughter, Deborah Hussey.              But Weeks

         5     was relieved when he heard that Flemmi was coming by with his

         6     stepdaughter.     He thought with her around, nothing bad would

         7     happen.    But Weeks was wrong.     Because years earlier, Hussey

         8     had been molested by Flemmi, and she had a tough life, and as

         9     you will hear in this case, a much tougher death, a death at

10:15   10     the hands, literally, at the hands of Bulger.          Because Hussey

        11     was getting in trouble with the police, and she was seen as a

        12     threat to Flemmi, might be able to get Flemmi arrested.

        13                 So, Weeks was upstairs using the bathroom when he

        14     heard Flemmi and Deborah Hussey arrive.         What does he hear

        15     next?   He hears a big thud, like someone falling to the floor.

        16     Because, in fact, that's what was happening.          Deborah Hussey

        17     was falling to the floor as James Bulger strangled her,

        18     strangled this young woman to death.        And then she, too, like

        19     "Bucky" Barrett and McIntyre, was buried in a dirt grave in the

10:16   20     basement.

        21                 So that's what we're dealing with here in this case, a

        22     hands-on killer who is the leader of an extensive criminal

        23     enterprise.

        24                 Now, this enterprise, or group of criminals, in the

        25     early days was known as the Winter Hill Gang or the Hill.
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         1     Sometime later on it was called Southie because that's where

         2     Bulger was from, but in the early days it was known as the

         3     Winter Hill Gang or the Hill, and that's after a section up in

         4     Somerville.

         5                And the leadership of this group changed over time.

         6     Originally Bulger and Flemmi were one of several leaders of

         7     this group, but eventually, Bulger and Flemmi seized control.

         8                And let me show you a picture in '75, the main guys in

         9     this criminal enterprise were Bulger, Flemmi, Martorano, Howie

10:18   10     Winter, Joe McDonald, and Jimmy Sims.         Now, the fact that

        11     Winter's last name was Winter, that has nothing to do with the

        12     fact that it's called the Winter Hill Gang.          It's just a

        13     coincidence that the group was from the Winter Hill section of

        14     Somerville.

        15                Now, in the '80s, Bulger and Flemmi seized control,

        16     because three of these guys became fugitives; that is, they ran

        17     away from Boston from federal charges.         Martorano ran away,

        18     McDonald ran away, Sims ran away, and Howie Winter went off to

        19     jail, leaving Bulger and Flemmi, who were soon joined by a

10:18   20     younger criminal named Kevin Weeks, who I've mentioned.

        21                And it's during the 1980s, that's when Bulger and his

        22     crew made a ton of money selling drugs, especially cocaine.

        23     And there were lots of people involved in this drug side of

        24     their business.     It was a business.     Even though it was

        25     illegal, its purpose was to make money.
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         1                Let me put up one last chart and go through some of

         2     the names of people who you will hear about in this case.

         3                Now, as I indicated earlier, some of the drug dealers

         4     were simply extortion victims, had to pay rent or were levied a

         5     fine, guys like Frank Lepere, you'll hear about, giant

         6     marijuana dealer back in the '80s.        He had to pay all the time

         7     when he brought a load of marijuana into the Boston area.

         8                Another two guys, Anthony Attardo, David Lindholm,

         9     they were simply extorted -- not simply, but they were extorted

10:19   10     on one occasion, and you'll hear from them as well.

        11                There were other dope dealers who were part of this

        12     network who were both extorted and supplied drugs to Bulger's

        13     operation.    For instance, that man I mentioned before, Joe

        14     Murray, who "Bucky" Barrett was questioned about, he began

        15     supplying cocaine to Bulger's organization.          And as you will

        16     hear, at the end, when he no longer wanted to be part of this,

        17     he was forced to make a severance payment, a big extortionate

        18     severance package of $500,000 in cash that he had to pay to

        19     Bulger over by the Boston aquarium.

10:20   20                But you will hear directly from some of these drug

        21     dealers, including William Shea, Billy Shea, in the middle.            He

        22     eventually became the main guy for the cocaine dealing in

        23     Southie under Bulger's control.        And he will come before you

        24     and testify, and he'll tell you how Bulger used to come over

        25     his house all the time.      Kevin Weeks would generally drive him
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         1     there, and they would discuss lots of things, including the

         2     drug business.     And you will hear from Shea that he had a

         3     variety of sources for the drugs, but at one point when he was

         4     getting cocaine from a couple of Colombians, the supply wasn't

         5     there.    So Bulger, Bulger himself set up a new source of

         6     cocaine for Shea and the organization.         Bulger, Bulger himself,

         7     told Shea, Let's go meet with a guy from Charlestown.             It

         8     turned out to be Murray.      Bulger himself arranged to meet with

         9     Murray.    And Bulger himself brought money to the deal, as did

10:21   10     Shea, and that was the beginning of a relationship with Murray

        11     when Murray supplied cocaine.

        12                In fact, shortly after this original meeting, set up

        13     by Bulger, with Shea, with this other drug dealer, Kevin Weeks

        14     was instructed by Bulger, Go meet with Murray and pick up some

        15     coke.    And Weeks picked up two large toolboxes containing over

        16     50 pounds of coke.     And then subsequently, at Bulger's

        17     direction, he parcelled some of it out, some to Shea, some to a

        18     couple of other individuals, and then actually returned a lot

        19     of it to Murray because it wasn't -- it was needed in

10:22   20     Charlestown rather than Southie.

        21                Now, Weeks is also going to testify in this case he

        22     received a reduced sentence from a federal judge based upon his

        23     cooperation.    As he will tell you, he testified at several

        24     trials.    And he also took investigators directly to the bodies

        25     of "Bucky" Barrett, John McIntyre, and Deborah Hussey.             But he
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         1     didn't take them to the basement of 799 East Third Street.        He

         2     took them to a little field across from Florian Hall in

         3     Dorchester, because the bodies were actually dug up and moved

         4     on Halloween in 1985.      And Weeks will tell you about that

         5     gruesome process.     He'll tell you how Bulger and Flemmi decided

         6     that the bodies had to be moved because the house was going to

         7     be sold, and they didn't want the bodies being discovered.        And

         8     Weeks, as I said, he'll tell you about this gruesome task.

         9                But the bodies were eventually discovered, because on

10:23   10     a freezing cold night in January of 2000, the State Police and

        11     the DEA went to a little field in Dorchester across from

        12     Florian Hall, and there, Kevin Weeks pointed to a spot where he

        13     said there would be three bodies.        And in fact, that's where

        14     the law enforcement began digging, and eventually they pulled

        15     three skeletons from the earth, three skeletons of John

        16     McIntyre, Deborah Hussey, and "Bucky" Barrett.

        17                Now, this case will have a lot of witnesses, a lot of

        18     pieces of evidence, and like I said earlier, it's like putting

        19     a puzzle together.     And you will hear that a lot of the

10:24   20     witnesses originally refused to testify when they were called

        21     before a grand jury, either because they didn't want to admit

        22     their own crimes or it was because they were afraid of Bulger

        23     and his gang.     And when that happens, when a person goes to a

        24     grand jury that's investigating something, they have a Fifth

        25     Amendment right to refuse to answer questions, but a court
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         1     order can be issued, sometimes called a compulsion order or an

         2     immunity order, an order that means the person can talk without

         3     fear of getting prosecuted for what they say.          So the

         4     compulsion order or the immunity order supplants that person's

         5     Fifth Amendment right.

         6                Now, you will hear that in this case sometimes the

         7     witness even refused to testify, despite the issuance of the

         8     court order.    And when that happens, as you will hear from

         9     these witnesses, the witnesses are held in contempt and sent

10:25   10     off to jail until they agree to testify.

        11                For example, remember that bookie, the bookmaker, Dick

        12     O'Brien we talked about at the beginning of this?           Well, he was

        13     called to a grand jury, and he refused to testify.           He was

        14     immunized; that is, a court order was issued compelling him to

        15     testify.    Despite that, he refused to testify.        As he will tell

        16     you, he didn't want -- he was more afraid of Bulger and his

        17     gang than that court order.       So he went off to jail.

        18                And government bureaucracy being what it is, they sent

        19     him to jail and put him next to Flemmi and Martorano.             And they

10:26   20     suggested to him, a suggestion he took, was that he could go

        21     back to the grand jury and simply lie, blame it on a sick and

        22     dying co-conspirator named George Kaufman.         So that's what he

        23     did, went back and told some story about George Kaufman being

        24     responsible for everything, and he was released.

        25                What you will hear, that -- years later -- when John
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         1     Martorano agreed to cooperate, O'Brien was no longer afraid.

         2     O'Brien came back to the grand jury and told the rest of the

         3     story.

         4                Now, eventually, Bulger was indicted or charged with

         5     his many crimes.     Unfortunately, one of Bulger's corrupt law

         6     enforcement contacts, John Connolly, was able to tip him off,

         7     tip him off about the impending charges.         So what does Bulger

         8     do?   He runs away and hides.      He hides for almost 16 years in

         9     California.    But, as you will hear, his luck eventually runs

10:27   10     out, because in the summer of 2011, honest FBI agents who were

        11     tracking him did in fact track him and arrest him.           When those

        12     honest FBI agents arrested him, they found guns; they found

        13     fake IDs; and they found cash, over $800,000 in cash.

        14                At that point, Bulger was brought back to Boston, and

        15     now here we are with an indictment of -- containing, as I said,

        16     32 counts, the 23 money laundering charges that I went through;

        17     a couple of racketeering charges; five gun counts, mostly

        18     machine guns; and two extortion counts.

        19                Now, the racketeering acts -- the racketeering

10:28   20     charges, excuse me, consist of a lot of racketeering acts,

        21     including 19 murders, and I've been able to touch upon a few of

        22     them.    But you will hear evidence in this case that this

        23     defendant, James Bulger, and his gang were responsible for over

        24     19 murders, 19 different people over almost 30 years of crime.

        25                You will hear about Michael Milano, Al Plummer,
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         1     William O'Brien, James O'Toole, Al Notorangeli, James Sousa,

         2     Paul McGonagle, Edward Connors, Thomas King, "Buddy" Leonard,

         3     Richard Castucci, Roger Wheeler, Debra Davis, Brian Halloran,

         4     Michael Donahue, John Callahan, "Bucky" Barrett, John McIntyre,

         5     and Deborah Hussey.      And that, ladies and gentlemen, is what

         6     this case is about, a defendant, James Bulger, who was part of

         7     a criminal gang which extorted people, paid off cops, earned a

         8     fortune dealing drugs, laundered money, possessed all sorts of

         9     guns, and murdered people, 19 people.

10:31   10                And so, at the end of this case, one of my colleagues

        11     will stand up before you and ask you to return the only verdict

        12     that the evidence in this case supports, and that would be a

        13     verdict of guilty as charged.

        14                Thank you for your attention.

        15                THE COURT:    Mr. Carney.

        16                MR. CARNEY:    Thank you, your Honor.

        17                Good morning.

        18                My name is Jay Carney, and with my co-counsel, Hank

        19     Brennan, we'll be representing the defendant, James Bulger.

10:32   20                When we were appointed by a judge in this court to

        21     represent him, we knew we had a challenging task.           We hope when

        22     we present our case to you, you will see the results of all the

        23     work we have done to dig into this case and present to you what

        24     the truth is.

        25                Before I go any further, I do want to thank you on my
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         1     behalf, Hank's behalf, and Jim's behalf for the extraordinary

         2     sacrifice that each and every one of you has made to serve as a

         3     juror on this case.      You saw how many people were called to

         4     jury duty and how after the first day so many people were

         5     excluded because they were either not able to make the

         6     sacrifice or willing to make the sacrifice that each of you

         7     made.

         8                We're going to be together for a number of months, but

         9     I don't want you to think any day goes by where we are not

10:33   10     sincerely appreciative for the time, sacrifice you've given up

        11     to search as a juror on this case.

        12                In listening to Mr. Kelly's opening statement kind of

        13     reminded me of a restaurant and how when you go to a

        14     restaurant, you're served a meal, and the food has been

        15     prepared in the kitchen.      By the time it gets to your table,

        16     there's a beautiful presentation.        A lot of time has been spent

        17     on it to make it look as appealing as possible.          And that's

        18     sort of like what it is when the government presents a witness

        19     in the courtroom.     They've spent a lot of time with the

10:34   20     witness, they've done a lot of negotiating with the witness,

        21     things have evolved with the witness, and then it leads to the

        22     point where the witness is ready to come to the courtroom and

        23     testify, just like food when it's brought to your table.

        24                What Hank and I are going to do is try to show you

        25     what happens in the prosecutor's kitchen before this witness
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         1     gets out here and tell you things that went on that Mr. Kelly

         2     didn't tell you and the factors that shaped not just the

         3     witness, but more importantly, what the witness is going to be

         4     saying to you.

         5                In my opening statement, I'm going to break it up into

         6     two parts.    The first is going to give you the background of

         7     what Boston was like from a federal law enforcement

         8     perspective, from the '60s right up until the mid '90s, because

         9     that's important to put in context what was going on and why it

10:35   10     was going on.

        11                What happened was, beginning with Robert Kennedy when

        12     he was the Attorney General and J. Edgar Hoover when he was the

        13     head of the FBI, was that a commitment was made, a focus was

        14     made by federal prosecutors and the FBI to smash the

        15     organization known as the Mafia.        This became a nationwide

        16     crusade on the part of every prosecutor and the majority of the

        17     FBI agents working for the federal government.

        18                The Department of Justice is the overall agency headed

        19     by the Attorney General.      The U.S. Attorney's Office works for

10:36   20     that office.    The FBI works for the Department of Justice.

        21     Even specialized groups like an Organized Crime Strike Force

        22     work for that office, and their mandate was to do everything

        23     they can to smash the Mafia.

        24                The success of people working for the Department of

        25     Justice was often dependent upon how successful they were in
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         1     getting indictments and convictions of the Mafia.           If they were

         2     successful, they received pay increases, promotions, bonuses,

         3     awards.    This was the number one priority.

         4                 In New England, the focus was on the Mafia in the

         5     North End of Boston and in the city of Providence, Rhode

         6     Island.

         7                 One of the strategies that the FBI used was to develop

         8     people that they characterized as Top Echelon Informants.

         9     These were people who were connected to the Mafia, who either

10:38   10     held a prominent role or an assisting or supportive role, and

        11     they agreed to provide information to the FBI and the federal

        12     prosecutors that cases would be built on.

        13                 Stephen Flemmi, one of the three primary witnesses

        14     being called in this case by the government, he was a Top

        15     Echelon Informant and provided information to the FBI and to

        16     the prosecutors about what he knew concerning his friends in

        17     the Mafia, also known as La Cosa Nostra.

        18                 The top FBI agent in Boston handling this was John

        19     Connolly.    The top prosecutor was Jerry O'Sullivan.

10:38   20                 Connolly was known nationwide as an extraordinary FBI

        21     agent, primarily because of the informants he developed.          He

        22     had 20 Top Echelon Informants who were providing information

        23     against the Mafia in Boston and in Providence.          He was able,

        24     with the assistance or the leadership of Jerry O'Sullivan, to

        25     obtain indictments and secure convictions.         John Connolly was
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         1     the FBI golden boy because of this ability to provide

         2     informants.

         3                But what happened is all of this acclaim, these

         4     raises, these promotions, these awards went to his head.                John

         5     Connolly thought he was a rock star, and he became greedy.

         6                Now, James Bulger never ever, the evidence will show,

         7     was an informant for John Connolly.        The evidence will show

         8     that he was never an informant for John Connolly.           There were

         9     two reasons for this.      Number one, James Bulger is of Irish

10:40   10     descent, and the worst thing that an Irish person could

        11     consider doing was becoming an informant because of the history

        12     of the troubles in Ireland.       And that was the first and

        13     foremost reason why James Bulger was never an informant against

        14     people.

        15                The second reason was a practical one.        James Bulger

        16     was not deeply tied to the Italian Mafia.         You'll hear that La

        17     Cosa Nostra centered on people of Italian, in particular,

        18     Sicilian descent.     They wouldn't let someone who wasn't of that

        19     background be knowledgeable about what was going on in their

10:41   20     activities.    They could pal around, they're like people who are

        21     in the same business, they can certainly be seen together and

        22     hang out together, but Bulger would never be provided with

        23     information that he could give, even if he wanted to.             And

        24     Bulger was never an informant.

        25                But as Bulger learned when he met with John Connolly,
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         1     there was something else that he could provide Connolly with:

         2     he could provide him with money, because Connolly wanted to

         3     live the lavish lifestyle, and Jim Bulger had the money to help

         4     him do so.    He wasn't paid small amounts of money.         James

         5     Bulger paid John Connolly on occasion $5,000, on other

         6     occasions $10,000, on still other occasions $50,000.              He paid

         7     this money, and Connolly gladly accepted it.

         8                You'll hear Connolly's lifestyle included having two

         9     homes, one in Boston and one in Quincy, and a vacation home on

10:42   10     the Cape, and a huge boat, all on a very modest salary.             But it

        11     was because of the money that James Bulger was paying him.

        12                You'll see confirmation that James Bulger was never an

        13     informant, because the procedures that were to be followed to

        14     set up an informant, as set up by the FBI, were never followed.

        15     There wasn't a contract signed by James Bulger.          He didn't give

        16     his fingerprints and photograph to the FBI, as was required.

        17     But Connolly wanted people to believe that James Bulger was an

        18     informant.    He never told that to Bulger, but he created a

        19     file, Connolly did, so he could point to it and say, This file

10:43   20     contains the information I'm getting from James Bulger.

        21                The reason Connolly created this file was just to

        22     cover up the fact that he was being seen with Bulger so often,

        23     that he was meeting with him when Bulger would be providing him

        24     money.   His file grew to hundreds of pages.         But when people,

        25     supervisors, in the FBI looked at this file, they said, The
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         1     information in here is of little value, it's essentially

         2     worthless, plus, it appears to be information, junk tips, that

         3     were provided to other FBI agents, because the information

         4     duplicated what was in these other FBI agents' files.

         5                Information from Stevie Flemmi's file in the exact

         6     same wording was then put in Bulger's file so that it would

         7     appear to be that it was an informant file.

         8                Supervisors would come from Washington and look at

         9     this and say, This person isn't a Top Echelon Informant, this

10:44   10     information isn't valuable.       The information in this file has

        11     never led to a single prosecution of anybody.          You should take

        12     Bulger out of this Top Echelon Informant process.

        13                In fact, the person who became the number two FBI

        14     agent in Boston looked at the file and said, This person's not

        15     an informant, he's doing crimes in Boston, he shouldn't be

        16     getting any protection.      He even met with James Bulger.       And

        17     he'll tell you that within ten minutes of meeting with him he

        18     realized Bulger wasn't an informant.        In fact, he asked Bulger

        19     about it, and Bulger denied that he was an informant.

10:45   20                And ask yourself, would an informant be paying tens of

        21     thousands of dollars to the agent?        Wouldn't it be the other

        22     way around, if the agent was paying Bulger for information?

        23     And that never happened.

        24                But Connolly needed to make it seem like Bulger was

        25     his informant.
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         1                Bulger was invited to dinner with FBI agents, with

         2     supervising FBI agents.      He got to know them, and they got to

         3     know that they, too, could be paid.

         4                John Connolly was -- I mean John Morris was John

         5     Connolly's supervisor.      He was in a little bit of a jam, needed

         6     some money, asked Bulger for a loan.        Bulger said, Sure, no

         7     problem.    Gave him $5,000.     Never expected to get the money

         8     back, never did get the money back, but got another person that

         9     he had on his payroll.

10:46   10                Bulger also gave money to State Police, local police,

        11     and he did that consistently.

        12                Why would Jim Bulger pay this?       Because he wanted

        13     information.    James Bulger was involved in criminal activities

        14     in Boston.    He was involved in illegal gaming, meaning selling

        15     football cards or other betting games and collecting the

        16     proceeds, which is illegal.       It's called, in the business,

        17     bookmaking.    He also lent money to people at very high rates,

        18     it's called loansharking.       He was involved in drug dealing.

        19     These crimes, that's what he did.        And in order to protect this

10:47   20     business, he wanted to pay for information and receive it from

        21     corrupt law enforcement officers.

        22                He wanted information for when there would be a

        23     wiretap set up, a situation where a bug is placed in a room or

        24     in a car; and in return for these payments, he was told where

        25     the bugs were placed.
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         1                He wanted to know when searches were going to be

         2     executed so that he could make sure to clear his stuff out of

         3     those locations.     And that when the police showed up to execute

         4     a search warrant and hopefully find drugs or evidence of

         5     illegal gambling or evidence of illegal loans, there was

         6     nothing there.

         7                He wanted to not be prosecuted for these crimes, which

         8     meant that the federal prosecutors would not bring charges

         9     against him.    They could bring charges against other people,

10:49   10     but not against Jim Bulger.

        11                And finally, if he ever was going to be indicted, he

        12     wanted a heads up so he could leave town.         That's what he was

        13     paying for.

        14                I've told you that he was alerted to when there were

        15     bugs, wiretaps.     I've told you that he was alerted when there

        16     were searches.     You'll also hear that during the period of time

        17     covered by this indictment, from 1972 to approximately 1995,

        18     James Bulger was never once charged with anything by a federal

        19     prosecutor in this town.      Not once, not anything.

10:50   20                You'll hear on one occasion an Assistant U.S. Attorney

        21     prepared an indictment that involved a plan to fix races at

        22     Suffolk Downs, and a whole group of people were listed in that

        23     indictment.    And it got to the head of the Organized Crime

        24     Strike Force that works directly with the FBI in these cases.

        25     And the indictment was approved with one exception: James
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         1     Bulger and Stephen Flemmi's names were taken out of the

         2     indictment.     The agents were mystified.      The young prosecutor

         3     was puzzled.    That is direct evidence of what James Bulger was

         4     paying for, that he would not be prosecuted.

         5                Another example is that a very diligent prosecutor

         6     worked for months to prepare the complicated evidence that

         7     needs to be presented in order for there to be a wiretap.           And

         8     a wiretap has to be approved by a judge through a very careful,

         9     cumbersome process.      It took thousands of hours by the FBI and

10:51   10     prosecutors to put this together, and the court issued the

        11     wiretap.    And then they discovered that the wiretap had been

        12     immediately known by James Bulger, and all that work was for

        13     nothing.    And they became aware of other things, such as

        14     searches that expected to turn up evidence but turned up

        15     nothing.

        16                What will the evidence show was the reaction of the

        17     leadership of the United States Attorney's Office and the

        18     Strike Force?     Was there suddenly a big investigation to find

        19     out why this wiretap was compromised or how it was compromised?

10:52   20     Did the Strike Force say, we're going to make this a priority

        21     because there's a problem?       No, nothing.

        22                There was a prosecutor in the United States Attorney's

        23     Office here in Boston from 1982 to 1990.         He held top positions

        24     regarding criminal cases, chief of general crimes.           Then later,

        25     chief of the entire criminal division.         Then later, the number
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         1     two person in the whole office.        His responsibilities included

         2     overseeing criminal activity in Boston.         He never brought a

         3     case against James Bulger during this time.          In fact, he has

         4     publicly stated in writing that from 1982 to 1990, which is the

         5     time period of Bulger's most prolific criminal activity, that

         6     he was not aware of a single investigation ever conducted by

         7     his office of Jim Bulger.       What does that tell you?

         8                 And the chief of the organized crime unit, Jerry

         9     O'Sullivan, he as well never brought a case during this period

10:53   10     against James Bulger.

        11                 Ladies and gentlemen, I tell you this history from the

        12     early '70s until the mid '90s so that you will know the depth

        13     of corruption in federal law enforcement that existed during

        14     this period, because it puts in context what happened after

        15     1994, and this was how James Bulger was able to do illegal

        16     gambling, make illegal loans, be involved in drug trafficking

        17     and extortion of people, and never, ever be charged, and on top

        18     of that, make millions upon millions upon millions of dollars

        19     doing so.

10:55   20                 Now we get to part two of the saga.

        21                 By 1994, Jerry O'Sullivan had retired.       John Connolly

        22     had retired.    The person who headed the criminal division had

        23     moved on to another job, and now at this point, with a new crew

        24     in place, Bulger, Flemmi, Martorano, and a number of others

        25     were indicted.
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         1                 Now, the prosecutor, Mr. Kelly, said that when the

         2     indictment came down, Mr. Bulger was tipped off, and that's why

         3     he fled.    Well, that sounds good, but the evidence will show

         4     that Mr. Bulger was driving back from a brief vacation, was in

         5     his car traveling toward Massachusetts, when he heard on the

         6     radio that the federal government had returned an indictment

         7     charging various people and were in the process of rounding

         8     them up.    The tip came from the fact that the prosecution's

         9     office had to publicize what they were doing.          And in so doing,

10:56   10     Mr. Bulger turned around and did not drive to Massachusetts but

        11     drove elsewhere.     And that's why he was not arrested in Boston.

        12     It was something as mundane as that.

        13                 He settled in California, not hiding, living openly in

        14     plain sight for the next 16 years while those former FBI

        15     agents, I submit, pretended to look for him.

        16                 Now, Flemmi was arrested, John Martorano was arrested.

        17     A series of hearings began being conducted in this court, where

        18     Stephen Flemmi was contending that he shouldn't be prosecuted

        19     because he had been an informant to the FBI and the U.S.

10:57   20     Attorney's Office, and that, therefore, he should have

        21     immunity.    And he said, John Connolly, the FBI agent, was the

        22     one who told me I would have immunity, and John Morris would

        23     confirm it.    And he told his friends that he was incarcerated

        24     with, Don't worry, we've got this under control.          Connolly will

        25     come in and bail us out.
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         1                But Connolly, instead, took the fifth, and it became

         2     apparent that Connolly was not coming in to save them.

         3                John Martorano saw the writing on the wall.            If Flemmi

         4     was not going to be saved by John Connolly, then Flemmi would

         5     probably try to cut his losses by offering to testify against

         6     people, like John Martorano.       And Martorano decided, I will be

         7     the first to come in.      So John Martorano came in and said that

         8     he would meet with the prosecutors and see what he could do to

         9     gain assistance in his own problems.

10:59   10                Now, you will hear a lot about John Martorano in this

        11     trial.   It would be fair to say that he is the scariest

        12     criminal, violent psychopath in Boston history.          He would kill

        13     people almost randomly, just as the mood befit him.           He would

        14     kill people because they crossed him.         He would kill people

        15     because he wanted to get their money.         He would kill people

        16     because he didn't want to pay a gambling debt.          He would kill

        17     people as easily as we would order a cup of coffee in a store.

        18                John Martorano knew that he was in serious trouble,

        19     that he had committed so many crimes in his life that it was

11:00   20     inevitable that he would be prosecuted, convicted, and put to

        21     death because he had committed crimes in states, including

        22     murder, that carried the death penalty.

        23                Now, at this point, Stephen Flemmi had lost all

        24     credibility because of testimony he had given at the trial.

        25     But Martorano knew because he hadn't testified he could be
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         1     valuable to the prosecution.       But he also realized that the

         2     prosecution's greatest interest was not in the crimes that

         3     Martorano had committed or that Flemmi had committed.             Their

         4     greatest interest was having Martorano testify against John

         5     Connolly.

         6                 And at this point, remember, Jim Bulger was gone.             By

         7     this point years had passed, because the hearings had been

         8     taking years to be conducted.       And there was a question whether

         9     Bulger would ever even be seen again.         Rumors were that he had

11:01   10     had plastic surgery, doesn't even look the same.          Other rumors

        11     would say, oh, Bulger's being hidden in a small village in

        12     Ireland where they're protecting him.         Other people speculated

        13     maybe he's dead of natural causes.        But most people thought

        14     they'd never see him again.

        15                 But the government had as its primary target John

        16     Connolly and had to find a way to get evidence against Connolly

        17     and tie Connolly to Bulger.

        18                 And then Martorano was educated and learned that he

        19     could be the bridge from Bulger to Connolly.

11:02   20                 You see, Martorano himself had never, ever met John

        21     Connolly.    He had never spoken to John Connolly.        So he's in

        22     this predicament where, how can I provide evidence against John

        23     Connolly where I've never met the man, spoken to the man, and

        24     had no contact with the man in any way?         As I say, he was

        25     educated, and learned that if he said that James Bulger had
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         1     told Martorano about a conversation with Connolly, then that

         2     conversation could be introduced against Connolly, and that

         3     would be Martorano's ticket to get out of this mess.

         4                The more corrupt that Martorano could make Connolly

         5     and Bulger, the better the deal that Martorano could get.

         6                Now, when you're thinking about John Martorano, the

         7     most critical thing for you to focus on, I respectfully submit,

         8     is Martorano's state of mind.

         9                I expect that at some point during the trial, her

11:03   10     Honor may give you an instruction about what state of mind

        11     evidence means.     It means, what's a person thinking?           What's

        12     the person planning?      What's going through his or her mind

        13     before the person is going to do something?

        14                And in this case, the evidence related to John

        15     Martorano's state of mind, I submit, will be the key to

        16     accepting whether he is a credible or not credible witness.

        17                John Martorano knew how this process worked.            He knew

        18     how a gangster could make a deal with the federal government

        19     and get an extraordinary benefit if he were to provide

11:04   20     testimony against others.

        21                He knew this because he had a good friend who had gone

        22     through the process.      His good friend was John Barboza --

        23     Joseph Barboza, I'm sorry.       Barboza was the mentor of

        24     Martorano.    And so what Martorano wanted to do himself was what

        25     Barboza did for himself.      And like Barboza, Martorano was just
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         1     as much a psychopath, a soulless killer without a conscience.

         2                So he knew that the FBI and the feds would do anything

         3     if he gave them information about the people that they wanted

         4     to prosecute.     And most importantly what he had learned from

         5     Barboza is the information did not have to be true.           Because

         6     what Barboza had told him is an instance in Barboza's own life.

         7                Barboza committed several murders, but the

         8     investigators were focusing on one in particular, and Barboza

         9     agreed to meet with the FBI.       But instead of speaking honestly

11:05   10     and saying that the persons who had committed the murder were,

        11     in fact, Joseph Barboza and his accomplice, Stevie Flemmi's

        12     brother, he instead said he knew the murders were committed by

        13     four members of the Mafia.       And he was willing to testify

        14     against these four members of the Mafia in the prosecution of

        15     these four completely innocent men in regard to this murder.

        16                The FBI knew the truth.      The FBI knew that it was

        17     Barboza himself with an accomplice who had actually done the

        18     killing.    But because he was providing information against the

        19     people in La Cosa Nostra, the FBI was willing to take that

11:06   20     information.    And as a result, four completely innocent men in

        21     this murder were convicted.       Two of them were sentenced to

        22     death, two of them received life sentences.

        23                It took 30 years before the truth came out and before

        24     the FBI was forced to reveal that they knew innocent people had

        25     been prosecuted.
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         1                Two of the men had died in prison, two were released.

         2     They brought a suit against the federal government, and the

         3     families got a total of $100 million against the government for

         4     this outrageous conduct.

         5                But for John Martorano, he saw what Barboza had done,

         6     and that's what he decided to do.

         7                Barboza ended up doing a short sentence for his own

         8     crimes, then was released, continued to do crimes, and

         9     continued to be protected by the FBI and the U.S. Attorney's

11:07   10     Office; and that lasted until one day Barboza was assassinated

        11     in San Francisco.

        12                This is the most important factor in John Martorano's

        13     mind.   So Martorano sought to get what Barboza did.

        14                We all know from our own experience that you can tell

        15     how much someone wants something by how much a person is

        16     willing to pay.     That's pretty straightforward.       And sometimes

        17     if you really, really want something, you'll pay an

        18     extraordinary amount.

        19                Let's say you had a Ted Williams baseball that you

11:08   20     bought at a store and someone wants to buy it.          How much?

        21     $100.   Okay.   But I don't want to sell.       Well, listen, I'll pay

        22     you $1,000 if you sell it to me and sign a letter that Ted

        23     Williams signed for you right in front of you.          Well, he

        24     didn't, I bought it at a store, I don't know if it's actually

        25     his signature.     I'll give you $10,000 if you sell me that
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         1     baseball and sign a letter saying Ted Williams signed it for

         2     you.

         3                As that price continues to goes up, it shows two

         4     things: human nature, meaning that when the price gets high

         5     enough, they'll say anything; and if you really want something,

         6     it will be reflected in what you give to get it.

         7                So let's apply that to John Martorano.

         8                John Martorano was briefed.      He acknowledged

         9     committing murders.      He actually was pretty conservative, but

11:09   10     said, Yup, I'll plead guilty to committing 20 murders,

        11     including ones where he would face the death penalty.             Yup,

        12     I'll plead guilty to 20 of those murders, and I'll plead guilty

        13     to being involved in other criminal activity, too.           And here's

        14     what I want:

        15                For killing 20 people in cold blood, I want a sentence

        16     of no more than 12 years in prison.        I also want to make sure

        17     that I'm not going to be prosecuted for the death penalty for

        18     killing the person, Roger Wheeler, in Oklahoma.          Because

        19     Martorano is the person who went to Oklahoma and killed

11:10   20     Mr. Wheeler, the individual's photo was shown a few moments

        21     ago.

        22                He also wanted a guarantee that he would not be

        23     prosecuted for John Callahan's murder.         We saw that picture a

        24     few moments ago.     Because Martorano was the one who went down

        25     to Florida, and even though Callahan was his friend, he sat
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         1     behind him in a van and put a bullet in his head.           And in

         2     Florida, as in Oklahoma, they kill people who do that.

         3     Martorano wanted assurances that that wouldn't happen.

         4                He also wanted to make sure that his girlfriend, who

         5     had provided sanctuary for him for 16 years, would get a pass,

         6     she would not get charged with anything.

         7                But then it goes on.     Martorano would be allowed to

         8     keep property that he had obtained with money he had brazenly

         9     earned from criminal activities.

11:11   10                He also said, I don't want to be made to testify

        11     against certain people.      His brother, Jimmy Martorano, had been

        12     committing murders, but John said, If you want my testimony, I

        13     won't testify against my brother, and you've got to agree to

        14     that.   Oh, and my friend, Pat Nee, he's a murderer.          I don't

        15     want to offer testimony about the murders that he's done.

        16                Isn't that enough?

        17                When he's held in prison, the federal government put

        18     $6,500 in his account so he could have a nice commissary at the

        19     place where he was held.

11:12   20                When he was released, they gave him a $20,000 check.

        21     Thanks for the help.

        22                He was allowed to keep $250,000 that they paid him for

        23     movie rights to John Martorano's life.

        24                The federal government was so desperate to have John

        25     Martorano testify in a manner that they wanted against John
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         1     Connolly and James Bulger that they basically put their hands

         2     up in the air and said, Take anything you want.

         3                And the question that you will have to answer, based

         4     on this incentive, would someone like John Martorano be willing

         5     to lie about James Bulger?

         6                The second person who came in is Kevin Weeks, who,

         7     like John Martorano, is going to come in the front door of this

         8     courthouse when he testifies, because, like Martorano, Weeks

         9     also is in our community, free from all restraints.

11:13   10                Weeks said he would agree that he was involved in five

        11     murders.    And so how many years did he get in return for this?

        12     How anxious was the government willing to pay for Kevin Weeks

        13     as a witness who would give them testimony against Connolly and

        14     Bulger?    What do you think is a fair sentence for killing five

        15     people?    The prosecutors thought a total of five years.

        16                If a person were charged with one murder, would he be

        17     willing --

        18                MR. KELLY:    I object to the accuracy of that remark.

        19                MR. CARNEY:    -- would he be willing to lie?

11:14   20                THE COURT:    Sustained as to that.

        21                But, Mr. Carney, I think you were moving on anyway.

        22                MR. CARNEY:    Yes, I was.

        23                And he, too, got to keep movie rights that he could

        24     sell, book rights.

        25                In fact, the government had charged him with extorting
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         1     someone who had won the lottery and forcing the person to give

         2     the ticket to Weeks.      They went to court, they proved it, the

         3     ticket was given back to the rightful owner.          Well, as part of

         4     their deal with Weeks, they went into court and said, We were

         5     wrong, Weeks really did deserve this money, and they got the

         6     court to overturn a judgment so that the lottery winnings that

         7     Weeks had extorted from someone could go back.

         8                MR. KELLY:    Object to the accuracy again, your Honor.

         9                MR. CARNEY:    Your Honor, we'll see what the evidence

11:15   10     shows.

        11                THE COURT:    Overruled.

        12                You may continue.

        13                MR. CARNEY:    So Weeks makes his deal.      He says, I'll

        14     come in, I'll testify completely and truthfully about

        15     everything.     And they're listening to him.      They say, Well, let

        16     me ask you something, didn't you use a gun to extort someone

        17     once?    No.   I'm going to give you a polygraph.       After the

        18     polygraph --

        19                MR. KELLY:    Judge --

11:15   20                MR. CARNEY:    -- same story, Mr. Weeks?      No, I guess

        21     not.

        22                I submit that Kevin Weeks can't tell the truth, even

        23     when there is nothing at stake for him.

        24                And finally, we turn to the third member of the

        25     government's trio of lead witnesses, Stephen Flemmi.              He was
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         1     next into the Department of Justice kitchen to be prepared for

         2     when he served here at the trial.

         3                 Flemmi was himself facing the death penalty, because

         4     he was directly involved in the killing in Oklahoma and in

         5     Florida.    He wanted to get a deal, but he had not so much to

         6     bargain with, because he was the third person in the door, not

         7     the first or the second.

         8                 What the government was willing to do is give him his

         9     very life.    Because instead of his facing the death penalty for

11:16   10     what he did, they obtained agreements from Florida and Oklahoma

        11     that he would not face the death penalty there, and he would be

        12     placed in prison instead.

        13                 But his brother, Mike, who is a corrupt Boston police

        14     officer, he could potentially get a benefit from Flemmi's deal.

        15     He was allowed to keep property and bank accounts that he had

        16     obtained --

        17                 MR. KELLY:    I'm going to object to the accuracy of

        18     these statements, with respect to --

        19                 THE COURT:    Overruled.

11:17   20                 MR. CARNEY:    You'll see the plea agreement.         And

        21     you'll see the page after page list of properties that Flemmi

        22     had purchased with illegally obtained money that the government

        23     said, Okay, you can hold onto that.        And the same with bank

        24     accounts.    You'll see all of this.

        25                 And what Flemmi did, I submit, was give what the
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         1     government wanted about Bulger.

         2                 At this point, so many years had gone by that it's

         3     fair to say that Stevie Flemmi thought he'd never see Bulger

         4     again.   And what Stevie Flemmi decided to do, I submit, was

         5     start blaming Bulger, Jim Bulger, for crimes that Stevie Flemmi

         6     himself had carried out.

         7                 Let me give you three brief examples.

         8                 You heard about the death of a beautiful young woman

         9     named Debbie Davis.      Debbie Davis was Stevie Flemmi's

11:18   10     girlfriend for years.      Stevie was much older than she was.       He

        11     was extremely generous to her and her family, and he was very

        12     proud that Debbie Davis was his girlfriend.          But then he

        13     learned that she was cheating on him.         He learned who her

        14     paramour or secret lover was.       He learned that she was mocking

        15     Stevie as being an old man, somebody who gave her money; she

        16     was going to keep taking his money.

        17                 Well, when you're dating someone who is a psychopath

        18     without a conscience, that's the last thing that person needs

        19     to know.    And Stevie Flemmi, the evidence will show, decided to

11:19   20     kill her.

        21                 In fact, Stevie Flemmi spoke to Martorano on one

        22     occasion, and Martorano said, What happened with Debbie?           And

        23     Steve Flemmi said, I strangled her.

        24                 But what is Stevie Flemmi going to say to you?         That

        25     even though James Bulger had absolutely no motive whatsoever to
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         1     kill Stevie Flemmi's girlfriend, Flemmi's going to say, Oh, I

         2     didn't kill her, Jim Bulger did.

         3                What's another example?      Deborah Hussey.     Stevie

         4     Flemmi had had a relationship with Deborah's mother.              And

         5     during this time, when Deborah was a teenager, Stevie Flemmi

         6     was sexually abusing her, and he did it for years.

         7                Her life turned out tragic.      She became a drug addict,

         8     became a prostitute.      Her self-esteem was in the gutter,

         9     perhaps because the man she viewed and called her stepfather

11:20   10     was the one having sex with her.        And Flemmi was worried.         What

        11     if she told people?      What if she told her mother?       And then one

        12     day, she did tell her mother, and Flemmi was booted out of the

        13     house.   Well, if she could tell her mother, what if the police

        14     found out?    And for Stevie Flemmi, the only way to make

        15     absolutely, positively sure that this young woman that he had

        16     abused would never speak to the police is he would kill her.

        17     When he meets with the government, it's not him, Stevie, who

        18     kills her.    Once again, Jim Bulger with no motivation, he kills

        19     Deborah Hussey, says Flemmi.

11:21   20                And finally, there was an instance where Stevie Flemmi

        21     and Paul Rico, who was his former handler in the FBI and who

        22     had since retired and now was working security at a World Jai

        23     Alai facility in Florida, Flemmi and this corrupt FBI agent,

        24     Paul Rico, decided to come up with a plan to take over the

        25     World Jai Alai.
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         1                John Martorano had a friend who worked at World Jai

         2     Alai, who had been an accountant, had been skimming the

         3     profits.

         4                So these four men decided to come up with a plan that

         5     they would kill the owner of World Jai Alai and convince the

         6     owner's wife to sell them the business, because the owner would

         7     not sell it to them.

         8                So this corrupt former FBI agent and his former

         9     informant, Stevie Flemmi, get together with John Callahan, the

11:22   10     accountant who happens to be a close friend of John Martorano,

        11     and they plan to make this happen.

        12                So Martorano goes to Oklahoma and kills the president,

        13     and then after a falling out with Callahan, goes to Florida and

        14     kills Callahan.

        15                Bulger was never there and had nothing to do with it,

        16     the evidence will show.      But now Stevie Flemmi says, Oh, there

        17     was a fifth person involved, Bulger.

        18                What the evidence will show is that Bulger is a person

        19     who had an unbelievably lucrative criminal enterprise in

11:23   20     Boston.    He was making millions and millions of dollars.         He

        21     had people on the local police, the state police, and

        22     especially the federal law enforcement on his payroll.            He had

        23     nothing, no interest, no motivation, no reason to go out of his

        24     comfort zone and ever get involved in anything in Florida,

        25     where he knew no one.
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         1                At the end of this case, I'll be asking you the

         2     question I asked at the beginning of my opening:          Given these

         3     three individuals, given their backgrounds, given their

         4     character, if that was all you knew, would you believe them

         5     beyond a reasonable doubt?        But when you add to the recipe the

         6     unbelievable incentives the prosecution has given these three

         7     men so that they will testify in the manner that the government

         8     wants and John Connolly and Jim Bulger, do you believe them

         9     beyond a reasonable doubt?

11:25   10                This process may be a pretty good recipe to get

        11     testimony, but it's an unreliable recipe to get the truth.

        12                Thank you very much.

        13                Thank you, your Honor.

        14                               *   *   *   *    *   *   *

        15                             - - - - - - - - - - - -

        16                                   CERTIFICATION

        17                I certify that the foregoing is a correct transcript

        18     of the record of proceedings in the above-entitled matter to

        19     the best of my skill and ability.

        20

        21

        22

        23     /s/Debra M. Joyce                         June 12, 2013
               Debra M. Joyce, RMR, CRR                  Date
        24     Official Court Reporter

        25
